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 1   LAW OFFICES OF CHRIS COSCA
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 3   (916) 440-1010
 4   Attorney for Defendant
     VLADISLAV ATAMANYUK
 5

 6

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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                     )   2:14-CR-0198 TLN
                                                   )
13                  Plaintiff,                     )   STIPULATION REGARDING
                                                   )
                                                       EXCLUDABLE TIME PERIODS UNDER
14          vs.                                    )
                                                   )
                                                       SPEEDY TRIAL ACT; FINDINGS AND
15                                                 )
                                                       ORDER
     VLADISLAV ATAMANYUK,
                                                   )
16                                                 )   DATE: August 27, 2015
                                                   )   TIME: 9:30 a.m.
17                                                 )   COURT: Hon. Troy L. Nunley
                    Defendant.
                                                   )
18                                                 )

19
                                           STIPULATION
20
            1.     By previous order, this matter was set for status on August 27, 2015.
21
            2.     By this stipulation, defendants now move to continue the status conference until
22
     October 8, 2015, at 9:30 a.m., and to exclude time between August 27, 2015, and October 8,
23
     2015, under Local Code T4.
24
            3.     The parties agree and stipulate, and request that the Court find the following:
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                   a)      The government has represented that the discovery associated with this
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            case includes investigative reports and related documents, as well as tax documents,
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            bank records and other documents obtained via subpoena. The government estimates
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                        Stipulation and Order Continuing Status Conference
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 1          that this discovery consists of more than 2,000 pages of documents. This discovery is
 2
            being produced directly to counsel and/or being made available for inspection and
 3
            copying.
 4
                    b)     Defense counsel need additional time to consult with their clients, review
 5
            the current charges, review the discovery, conduct investigation and research related to
 6
            the charges, and to otherwise prepare for trial, if necessary.
 7
                    c)     Counsel for defendants believe that failure to grant the above-requested
 8
            continuance would deny counsel the reasonable time necessary for effective
 9
            preparation, taking into account the exercise of due diligence.
10
                    d)     The government does not object to the continuance.
11
                    e)     Based on the above-stated findings, the ends of justice served by
12

13
            continuing the case as requested outweigh the interest of the public and the defendants

14          in a trial within the original date prescribed by the Speedy Trial Act.

15                  f)     For the purpose of computing time under the Speedy Trial Act, 18

16          U.S.C. § 3161, et seq., within which trial must commence, the time period of August
17          27, 2015 to October 8, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
18          3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
19          the Court at defendants’ request on the basis of the Court’s finding that the ends of
20          justice served by taking such action outweigh the best interest of the public and the
21
            defendants in a speedy trial.
22
            4.      Nothing in this stipulation and order shall preclude a finding that other
23
     provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
24
     period within which a trial must commence.
25

26
     IT IS SO STIPULATED.
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 1   Dated: August 25, 2015                          BENJAMIN B. WAGNER
                                                     United States Attorney
 2

 3
                                                     /s/ Michele Beckwith
 4                                                   MICHELE BECKWITH
                                                     Assistant United States Attorney
 5

 6
     Dated: August 25, 2015                          /s/ Danny Brace, Jr.
 7                                                   DANNY BRACE, JR.
                                                     Counsel for Defendant
 8
                                                     Sergey Shchirskiy
 9

10
     Dated: August 25, 2015                          /s/ Christopher Cosca
11
                                                     CHRISTOPHER COSCA
12                                                   Counsel for Defendant
                                                     Vladislav Atamanyuk
13

14

15

16                                         ORDER
17
           IT IS SO ORDERED.
18

19
     Dated: August 26, 2015
20
                                                        Troy L. Nunley
21                                                      United States District Judge
22

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                       Stipulation and Order Continuing Status Conference
